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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:19-CV-407
                                       §
 23.311 ACRES OF LAND, MORE OR         §
 LESS, SITUATE IN HIDALGO COUNTY, §
 STATE OF TEXAS; AND FRANK             §
 SCHUSTER FARMS INC., ET AL.,          §
                                       §
                    Defendants.        §
______________________________________________________________________________

                   ORDER FOR DELIVERY OF POSSESSION
______________________________________________________________________________

        This action coming on upon the opposed motion of the Plaintiff for an order for the

surrender of immediate possession of the property described in the Complaint filed herein to

Plaintiff, and it appearing that Plaintiff is entitled to possession of said property.

        IT IS HEREBY ORDERED that all defendants to this action and all persons in possession

or control of the property described in the Complaint filed herein shall surrender possession of said

property to the extent of the estate being condemned, to the Plaintiff immediately.

        IT IS FURTHER ORDERED that a notice of this order shall be served on all persons in

possession or control of the said property forthwith.

        IT IS FURTHER ORDERED that:

        (1) This Order is without prejudice to the rights of Defendants to present evidence on the

            amount of just compensation to be paid and to share in the award; and

        (2) This case will remain open for the issue of just compensation.

        IT IS SO ORDERED.

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 DONE at McAllen, Texas, this ___ day of ______________, 20___.



                                           ______________________________
                                           RANDY CRANE
                                           United States District Judge




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                       Order for Delivery of Possession
